     6:19-cv-00489-BHH         Date Filed 09/08/21     Entry Number 179        Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF SOUTH CAROLINA GREENVILLE
                                     DIVISION


WINSTON TYLER HENCELY,                       )
                                             )
Plaintiff,                                   )              Case No. 6:19-CV-00489-BHH
                                             )
v.                                           )
                                             )
FLUOR CORPORATION,                           )
FLUOR ENTERPRISES, INC.,                     )
FLUOR INTERCONTINENTAL, INC.,                )
FLUOR GOVERNMENT GROUP                       )
INTERNATIONAL, INC.,                         )
                                             )
Defendants.                                  )
____________________________________________ )

                                    NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Winston Hencely appeals to the United States Court

of Appeals for the Fourth Circuit the District Court’s Orders of June 8, 2021 (Dkt. No. 162)

(denying Plaintiff’s motion in limine); August 11, 2021 (Dkt. No. 176) (granting Fluor’s motion

for summary judgment); August 13, 2021 (Dkt. No. 177) (granting Fluor’s motion for partial

judgment on the pleadings); and the August 13, 2021 Judgment (Dkt. No. 178).

       Respectfully submitted this 8th day of September, 2021.


                                             s/ Beattie B. Ashmore
                                             BEATTIE B. ASHMORE, #5215
                                             Beattie@BeattieAshmore.com
                                             BEATTIE B. ASHMORE, P.A.
                                             650 E. Washington Street
                                             Greenville, S.C. 29601
                                             T: (864) 467-1001      F: (864) 672-1406

                                             JAMES E. BUTLER, JR.
                                             Georgia Bar No. 099625
                                             Jim@butlerwooten.com
6:19-cv-00489-BHH   Date Filed 09/08/21   Entry Number 179     Page 2 of 3




                                ROBERT H. SNYDER
                                Georgia Bar No. 404522
                                Rob@butlerwooten.com
                                DANIEL E. PHILYAW
                                Georgia Bar No. 877765
                                dan@butlerwooten.com
                                BUTLER WOOTEN & PEAK LLP
                                2719 Buford Highway
                                Atlanta, GA 30324
                                T: (404) 321-1800 F: (404) 321-2962

                                W. ANDREW BOWEN, #10510
                                Andrew@BowenPainter.com
                                PAUL PAINTER, III
                                Georgia Bar No. 520965
                                BOWEN PAINTER, LLC
                                215 W. York Street
                                P.O. Box 8966 (31412)
                                Savannah, GA 31401
                                T: (912)335-1909       F: (912)335-3537


                                D. JOSEV BREWER #9188
                                Joe@JoeBrewerlaw.com
                                The Law Office of D. Josev Brewer
                                650 E. Washington Street
                                Greenville, SC 29601
                                T: (864)383-5250

                                ATTORNEYS FOR PLAINTIFF




                                  2
     6:19-cv-00489-BHH          Date Filed 09/08/21        Entry Number 179       Page 3 of 3




                                 CERTIFICATE OF SERVICE

        I do hereby certify that I have this date served all counsel of record in the within matter
with a copy of the above pleading by sending via electronic mail addressed as follows:

 DARRELL L. BARGER                                    WILLIAM W. WILKINS, #4662
 dbarger@hdbdlaw.com                                  BWilkins@nexsenpruet.com
 HARTLIN BARGER LLP                                   ANDREW A. MATHIAS, #10166
 1980 Post Oak Blvd.                                  AMathias@nexsenpruet.com
 Suite 1800                                           KONSTANTINE P. DIAMADUROS,
 Houston, TX 77056                                    #12668
 T: (713) 759-1990 F: (713) 652-2419                  KDiamaduros@nexsenpruet.com
                                                       NEXSEN PRUET, LLC
 J. REID SIMPSON                                      55 E. Camperdown Way, Suite 400 (29601)
 rsimpson@hdbdlaw.com                                 Post Office Box 10648
 HARTLIN BARGER, LLP                                  Greenville, SC 29603-0648
 800 N. Shoreline Blvd.                               T: (864) 370-2211 F: (864) 282-1177
 Suite 2000, North Tower
 Corpus Christi, TX 78401
 T: (361) 866-8000 F: (361) 866-8037



       This 8th day of September, 2021.


                                               BEATTIE B. ASHMORE, P.A.

                                               s/ Beattie B. Ashmore
                                               BEATTIE B. ASHMORE, #5215
                                               Beattie@BeattieAshmore.com


650 E. Washington Street
Greenville, SC 29601
T: (864) 467-1001 F: (864) 672-1406




                                                  3
